Case 19-28955-KCF          Doc 10      Filed 11/13/19 Entered 11/13/19 12:01:15                      Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In Re:                                                      Case No.:              19-28955
                                                                              __________________
SUNIL J. FERNANDES AND NEETA                                Chapter:                   7
                                                                              __________________
FERNANDES,                                                  Judge:                   KCF
                                                                              __________________


                             NOTICE OF PROPOSED ABANDONMENT

            Bunce D. Atkinson
__________________________________,                  Trustee
                                             ____________________     in this case proposes to abandon
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

 Address of the Clerk: Clarkson S. Fisher US Courthouse
                         402 East State Street
                         Trenton, NJ 08608



                                                                                         Kathryn C. Ferguson
If an objection is filed, a hearing will be held before the Honorable _______________________________
       December 17, 2019 at ________a.m.
on ______________________               10:00           at the United States Bankruptcy Court, Courtroom no.
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________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
 Description and value of property: 1 Dartmoor Drive, Somerset, NJ 08873($405,000.00)




 Liens on property:                   C Aaron Patel, Esq.-155 Polifly Rd, Hackensack, NJ 07601 ($10,252.87)
                                      Mr. Cooper Home Loans-Nationstar Mortgage, LLC-PO Box 619094, Dallas, TX
                                      75261 ($290,062.66)
                                      Discover Bank-PO Box 71084, Charlotte, NC 28272 ($7,259.46)
                                      Mughlai Foods, Inc.-6 Clinton Street, NY, NY 10002 ($34,579.80)
                                      Specialized Loan Servicing-PO Box 636005, Littleton, CO 80163 ($126,931.61)




 Amount of equity claimed as exempt: $0.00



Objections must be served on, and requests for additional information directed to:

Name:           Bunce D. Atkinson, Esq.
                ________________________________________________________________________
Address:        PO Box 8415, Red Bank, NJ 07701
                ________________________________________________________________________
               732-530-5300
Telephone No.: ________________________________________________________________________

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